                 Case 1:20-cv-06569-PAC-GWG Document 11 Filed 04/23/21 Page 1 of 2
Form 42    -   DOORMAN WITH         MILITARY
                                                                                                                  P4551685

          NISAR LAW GROUP, P.C    CASEY WOLNOWSKI
U   S   DISTRICT COURT SOUTHERN DISTRICT OF NEW YORK
JANE DOE                                                                                                 index No. 1:20-CV-06569-PAC
                                                                                         PLAINTIFF       Date Filed
                                                   -    vs   -                                           Office No.
CUBA GOODING,        JR.                                                                                 Court Date.
                                                                                         DEFENDANT
          STATE OF NEW YORK,               COUNTY OF NEW YORK    :SS:
DONDRE DENNIS        being duly sworn, deposes and says; I                  am      over    18   years of age, not   a   party to
this action,        and reside in the State of New York.
That on the 22ND day of APRIL, 2021 3:30PM at
        60 COLLISTER STREET
        APT. 2B
        NEW YORK NY 10013
I   served the SUMMONS IN A CIVIL ACTION AND COMPLAINT AND ORDER REGARDING PROCEEDING
PSEUDONYMOUSLY
after prior attempts were made on: , , ,
upon CUBA GOODING, JR. the DEFENDANT therein named by delivering and leaving a true copy or
copies of the aforementioned documents with JOHN DOE (REFUSED FULL NAME), DOORMAN
a person of suitable age and discretion, who refused access to DEFENDANT actual apartment, and
accepted in accordance with his/her everyday duties.
       Deponent describes the person served as aforesaid to the best of deponent's                                       ability at
the time and circumstances of the service as follows:
 SEX: MALE COLOR: BROWN HAIR: BLACK/BALD AGE: 35-39 HEIGHT: 5'11 WEIGHT: 165
OTHER     IDENTIFYING FEATURES

On 04/23/2021 I deposited in                     the United States mail a true copy of the aforementioned documents
properly enclosed and sealed                     in a post-paid wrapper addressed to the said DEFENDANT at the
above address   That address
                        .                        being
upon information and belief,                     the usual place of abode, last known residence of the DEFENDANT.
Copy mailed 1st class mail marked personal and confidential not indicating on the outside
thereof by return address or otherwise that said notice is from an attorney or concerns an
action against the person to be served.
That at the time of service, as aforesaid, I asked the person spoken to whether the DEFENDANT
was in the military service of the State of New York or United States and received a negative
reply. Upon information and belief based upon the conversation and observation as aforesaid I
aver that the DEFENDANT is not in the military service of the State of New York or the United
States as that term is defined in statutes of the State of New York or the Federal Soldiers and
Sailors Civilian Relief Act.
COMMENTS:

Sworn     to before                 this
23RD            f           I   ,   2021

                                                                  DONDRE D                   8     9
                                                                  PM    Legal       L
SELENA INE          D           S                                 75 MAID           L       1    È OOR
Notary Public, State                  o    New   York             NEW YO        ,         JGF38
No. OlAD6365042                                                   Refere                6: 7-NLGPC-4551685
Qualified in        NEW YORK COUNTY
Commission Expires 09/25/2021
                  Case 1:20-cv-06569-PAC-GWG Document 11 Filed 04/23/21 Page 2 of 2
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           NISAR LAW GROUP, P.C    CASEY WOLNOWSKI
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                                                - vs -                                                     Office No.
CUBA GOODING,         JR.                                                                                  Court Date.
                                                                                         DEFENDANT
          STATE OF NEW YORK,            COUNTY OF NEW YORK    :SS:
DONDRE DENNIS being duly sworn, deposes and says; I                      am      over         18   years of age, not   a    party to
this action,     reside in the State of New York.
                     and
That on the 22ND day of APRIL, 2021 3:30PM at
          60 COLLISTER STREET
          APT . 2B
          NEW YORK NY           10013
I served the SUMMONS               IN A CIVIL ACTION     AND COMPLAINT AND ORDER REGARDING PROCEEDING
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Sworn      to before       me    t is
                    APRIL          21                                                     ,    /
                                                               DONDRE DE                           97
                                                               PM    Legal       L
SELENA INES ADA ES                                             75 MAID N L NÉ  lTH FL R
Notary Public,              at     of   New   York             NEW YOP      10038
                                                                             ,       Y
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